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3                                UNITED STATES DISTRICT COURT
4                                        DISTRICT OF NEVADA
5     ADAM RODRIGUEZ,                                            Case No. 2:20-cv-01251-RFB-NJK
6                                               Plaintiff                      ORDER
7            v.
8     CORE CIVIC, et al.,
9                                            Defendants
10
11   I.     DISCUSSION

12          On July 6, 2020, Plaintiff, an inmate in the custody of the Nevada Southern Detention

13   Center (“NSDC”), submitted a civil rights complaint under 42 U.S.C. § 1983 and filed an

14   application to proceed in forma pauperis. Docket Nos. 1-1, 1. Plaintiff’s application to proceed

15   in forma pauperis is incomplete. Plaintiff has not submitted a Financial Certificate or an inmate

16   account statement for the previous six-month period. If Plaintiff has not been at the NSDC facility

17   for a full six-month period, Plaintiff must still submit a completed Financial Certificate and an

18   inmate account statement for the dates he has been present at the facility.

19          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin a civil

20   action in this Court may apply to proceed in forma pauperis in order to file the civil action without

21   prepaying the full $400 filing fee. To apply for in forma pauperis status, the inmate must submit

22   all three of the following documents to the Court:

23          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this Court’s

24          approved form (i.e. pages 1 through 3 with the inmate’s two signatures on page 3);

25          (2) a Financial Certificate properly signed by both the inmate and a prison or jail official

26          (i.e. page 4 of this Court’s approved form); and

27          (3) a copy of the inmate’s prison or jail trust fund account statement for the previous

28   six-month period. If Plaintiff has not been at the facility for a full six-month period, Plaintiff
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1    must still submit an inmate account statement for the dates he has been present at the facility.
2           Accordingly, the Court denies Plaintiff’s application to proceed in forma pauperis, Docket
3    No. 1, without prejudice because the application is incomplete. The Court will grant Plaintiff a
4    one-time extension to file a fully complete application to proceed in forma pauperis containing
5    all three of the required documents. Plaintiff must file a fully complete application to proceed in
6    forma pauperis on or before September 7, 2020. Absent unusual circumstances, the Court will
7    not grant any further extensions of time. If Plaintiff is unable to file a fully complete application
8    to proceed in forma pauperis with all three required documents on or before September 7, 2020,
9    the Court will dismiss this case without prejudice for Plaintiff to file a new case with the Court
10   when Plaintiff is able to acquire all three of the documents needed to file a fully complete
11   application to proceed in forma pauperis.
12          Alternatively, Plaintiff may choose not to file an application to proceed in forma pauperis
13   and instead pay the full filing fee of $400 on or before September 7, 2020 to proceed with this
14   case. The Court will retain Plaintiff’s civil rights complaint, Docket No. 1-1, but the Court will
15   not file the complaint unless and until Plaintiff timely files a fully complete application to proceed
16   in forma pauperis with all three documents or pays the full $400 filing fee.
17   II.    CONCLUSION
18          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed in forma
19   pauperis, Docket No. 1, is DENIED without prejudice to file a new fully complete application to
20   proceed in forma pauperis with all three documents.
21          IT IS FURTHER ORDERED that the Clerk of the Court will send Plaintiff the approved
22   form application to proceed in forma pauperis by an inmate, as well as the document entitled
23   information and instructions for filing an in forma pauperis application.
24          IT IS FURTHER ORDERED that, on or before September 7, 2020, Plaintiff will either
25   pay the full $400 filing fee for a civil action (which includes the $350 filing fee and the $50
26   administrative fee) or file with the Court:
27          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this Court’s
28          approved form (i.e. pages 1 through 3 of the form with the inmate’s two signatures on page



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1            3);
2            (2) a Financial Certificate properly signed by both the inmate and a prison or jail official
3            (i.e. page 4 of this Court’s approved form); and
4            (3) a copy of the inmate’s prison or jail trust fund account statement for the previous
5    six-month period. If Plaintiff has not been at the facility for a full six-month period, Plaintiff
6    must still submit an inmate account statement for the dates he has been present at the facility.
7            IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete application to
8    proceed in forma pauperis with all three documents or pay the full $400 filing fee for a civil action
9    on or before September 7, 2020, the Court will dismiss this action without prejudice for Plaintiff
10   to refile the case with the Court, under a new case number, when Plaintiff has all three documents
11   needed to file a complete application to proceed in forma pauperis.
12           IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint, Docket
13   No.1-1, but will not file it at this time.
14           IT IS SO ORDERED.
15           DATED: July 9, 2020.
16
17                                                 NANCY J. KOPPE
                                                   UNITED STATES MAGISTRATE JUDGE
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